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         EXHIBIT 16
        to the Declaration of Qifan Huang
       PUBLIC VERSION - REDACTED
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                                                               [Trust & Safety/SpiderMADsensel



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       [Comms for this launch are reactive only. We can explain to channel owners that their channels were terminated
       because of a linkage, but because this is simply an expansion of an existing policy, please do not communicate
       to any external party that this is a change]

       WHAT IS HAPPENING?
       We're expanding copyright terminations to                                                . When a channel is terminated for
       copyright strikes or webform abuse, we'll                                                                        and
       terminate those channels as well.




               Copyright termination - a channel receives 3 or more copyright strikes (and either does not have delayed
               strikeout or delayed strikeout has expired)

               Webform abuse termination - a channel is terminated for submitting abusive legal requests

       WHY IS THIS HAPPENING?
       Expanding copyright terminations helps limit abuse on the platform and strengthens our repeat infringer policy. In
       November 2017, we began terminating channels                                                           , and saw a 30%
       increase in terminations, with a very low false positive rate (only 4 terminations overturned on appeal).


       WHOM/WHERE DOES THIS IMPACT?
       At launch, this impacts any channel that's
             (going forward). We will not expand termination to Premium, Torso, or Affiliate channels.

       In the future, we may expand retroactively to channels that have been terminated in the past. This will be determined after
       evaluating impact of this launch, as well as conducting evals of expansion precision. We will expand retroactively in
       phases so as not to cause a spike in appeals volume or partner/social escalations.




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       When a channel's termination is reversed (via resolution of copyright strike), all channels terminated through this pipeline
       will be reinstated as well.

       The projected impact can be seen here.

               Tier/Creators/Vertical: potentially any creator subject to copyright termination
               High-touch creators are defined as over 50K subscribers or Managed Partners. These will all rat manual review
               uetiu..; LCIIuliuldL.VIi, Dut because of the time sensitivity arouna teriruunations (it should be clear that one :hannei

               was terminated because another was very recently terminated), we won't be able to notify partner managers
               internally ahead of time (they'll be notified at time of suspension, as with other suspension types). When w
               expand retroactively, we will be able to provide lists to partner managers ahead of time.
                                                                                                               will be enqueued I r
                         manual review.

       TIMELINE
       [Include information specifically on internal product launch, training, announcement, social media posting & partner
       outreach timelines.                                           11   -   _   .....   .              ___   .._...   .   ...,..   ..j




                             PRODUCT TIMELINE

          08/13/18 - Comms approved

          08/14/18 - Announce in YT Bulletin

          10/02/18 - Implement expanded
          terminations going forward

          10/15/18 - Evaluate false positive rates from reporting,
          manual review, and appeals

          10/30/18 - Implement expanded terminations
          retroactively, in stages




       NOTIFICATION EMAIL (sent upon termination, currently exists for                                                                     )

       Copyright Strikes:
       We'd like to inform you that your channel has been terminated because we concluded that it is linked to a channel that
       was disabled for having three or more Copyright strikes. You can find more information by checking your email inbox for
       notifications for your linked channel. Please be aware that you are prohibited from accessing, possessing or creating any
       other YouTube channel unless the linked channel is reinstated. For more information about copyright strikes and
       terminations, please visit our .dp

       Webform Abuse:
        We'd like to inform you that your channel has been terminated because we concluded that it is linked to a channel that is
       in violation of YouTube's Terms of Service ($tos url). You can find more information by checking the email inbox of your
       linked channel. Please be aware that you are prohibited from accessing, possessing or creating any other YouTube
       accounts unless the linked channel is reinstated. For more information about account terminations and how our
       Community Guidelines are enforced, please visit our Help Center at ${help_center string}.




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       REACTIVE MESSAGING

       Copyright Strikes:
       Your channel was terminated because we concluded that it was linked to a channel that was disabled for having three or
       more .,jpVnght strikt. ,.

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       (by resolving its copyright strikes). A notification that your channel was terminated was sent to the email address
       associated with your terminated YouTube channel. Please check your inbox (including your spam folder) for the following
       message:

               We'd like to inform you that your account has been terminated because we concluded that is linked to an account
       that was disabled for having three or more Copyright strikes.

       (Partner Support version:
               Your channel was terminated because we determined it was linked to a channel that received 3 copyright strikes.
               Channels that receive 3 copyright strikes are automatically disabled.

                  This means you may not create new channels or keep your current channels active. Please understand that
                  YouTube's copyright removal process complies with the law. We try to be fair to our users and protect their
                  freedom of expression while also respecting the legal rights of copyright owners.

                  If you're able to ' ' ' rha     righ+ strike that led to the original termination, your channel and the originally
                                                    ^r,
                  terminated channel will both be restored.



       Webform Abuse:
       Your channel was terminated because we concluded it was linked to an account that was found to be in violation of
       YouTube's .. rms of Servit,u.

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       notification that your channel was terminated was sent to the email address associated with your terminated YouTube
       channel. If you believe your termination was in error, you can appeal by writing back to the email we sent to your linked
       account. Please check your linked channel's inbox (including your spam folder) for the following message:

                   We are concerned that some of the information within this legal request may be fraudulent. As a result, your YouTube channel
                  has been terminated.
                  If you believe that all of the information you provided in this legal request was accurate, please respond with an explanation.



       (Partner Support version:

       Your channel was terminated because we determined it was linked to a channel that is in violation of YouTube'                                                 erms of
       Service.           can find more information by checking the email inbox `your linked channel.
                  Yom••
       This means that you can't access, possess, or create any other YouTube accounts unless the linked channel is reinsta.
       For more information about account terminations and how our Community Guidelines are enforced, please visit our Help
       ('Qnter nt !{help_center_string}.




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           •   Help Center Article: Copvriqht Strike Basics (no change)
           •   Social CRs:
           •   Creator Support CR:             mms doc




       How do I know that my account was terminated indirectly through linkage and not directly?
              We send an email notification upon termination in all cases. If your channel is indirectly terminated through a
              linkage, you'll be notified in one email that your channel was terminated for x reason (copyright or webform
              abuse), and you'll be notified in another email that your other channel was terminated because we concluded it
               was linked to the directly-terminated account.

       Why was my account terminated?
             It's our policy that if you are terminated for copyright strikes, you may not create new channels or keep your
             current linked channels active. Please understand that YouTube's copyright removal process complies with the
             law. We strive to be fair to our users and protect their freedom of expression while also respecting the legal rights
             of copyright owners.

               [If based on copyright termination] If you are able to resolve the copyright strikes that led to your original
               termination, your account and the originally terminated account will both be restored.

       (upon retroactive termination sweep] Why was my linked channel terminated so long after my other channel was directly
       terminated?
               It's our policy that if you are terminated for copyright strikes, you may not create new channels or keep your
               current linked channels active. This may be enforced simultaneously or we may later terminate a linked channel
               once we conclude a channel is related to a terminated channel.

               Please understand that YouTube's copyright removal process complies with the law. We strive to be fair to our
               users and protect their freedom of expression while also respecting the legal rights of copyright owners.



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       DIAGNOSIS (Internal Tools)
       If a YouTube user you work with has been terminated, you can find out the reason why in Examine Use . For linked
       terminations, the reason will say "linked copyright" or "linked webform abuse":




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                                              Internal UserlD                                8565883098
                                              Account Type                         Gala with Core Identity
                                              YT Username                                          Not set
                                              Signup Date                        July 26, 2018 at 2:33 PM
                                              Last Video Playback                July 26, 2018 at 2:33 PM
                                              Live Public Videos
                                              Email                        grarnpsmoneytest a?gmail.com
                                                                                           ~(confirmed)
                                              UserGrou,                                  Sraro :te       up ate
                                              User Status                                      S -suspended
                                                Reason                                       linked copyright
                                              ldintiyMer9etatüs
                                                Merge Date                                           None Found

                                              Completed copyright school                                  Never
                                              Adwords Customer Ids                                        None
                                              Is Trusted Advertiser                                       False
                                                Opted into product-related                                  false
                                               email
                                               This user is not in any EDU whitelists.

                                              Signup IP                                      254.199.69,227


       You can find out which directly-terminated channel led to the termination from the

                                                                                   SfnTf-h fo Usef                       -,n.-

        Show :g ft; +Is'3}y


        Partner Signup History
        ho few.I



        User Account Action History for




       Externally, there will be a banner indicating that this is a linked termination:

               OWduTUhe


               home

         }     Trending

               Subscriptwna




               h erory




       If you have questions relating to a particular termination, please reach out to the copyright team at consult-yt-copyright@.



       [List of FAQs: Internal only answers that should not be shared by external parties]
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          Try to keep these to a minimum as you should try to provide externally shareable answers for most FAQs. Feel free to
          comment in some PMs or SPMs before launch/training to get other ideas for FAQs




          Can you tell me which channels or partners will be affected by this?
                 We don't know who will be terminated in the future, so we're unable to say who will be affected by this launch. Our
                 projected numbers are based off historic terminations per year. Before we begin retroactive terminations, we will
                 share a list of channels with partner support that we know will be affected.

          Are there exceptions to termination expansion?
                  Yes, termination expansion won't apply to Premium, Torso, or Affiliate channels. Additionally, terminations will not
                  be automatically propagated to channels protected by our safety nets, which are                J . ,2,::J . ,
                                                              ~,. iiiiit,., -- these terminations will be reviewed by human experts to
                  determine if termination is appropriate.

          How does my partner know which channel was directly terminated?
                 A termination notification email will be sent to each terminated channel's email address (in the case of a primary
                 owner, this is likely one email inbox and they will receive all notifications in one place). The email notifying a user
                 of direct termination will be addressed to the display name of the directly-terminated channel. The email notifying
                 a user of expanded termination will be addressed to the display name of the expanded termination channel.

          Can we explain to a user/partner that their channel termination was due to this launch?
                 No. This is a highly confidential launch that should not be referenced externally. Please use the comms listed and
                 feel free to include the information that the termination is due to a channel linkage, without indicating that this is a
                 new expansion of our repeat infringer policy.


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          [List out known issues with launch that will be fixed post launch. Keep it short, with bug links
               • Priority/Bug ID/Hotlist Link: Issue description, expected time for fix, partner impact

      r


          [Depending on launch/product info., the rows below are optional. Make sure to have clear contact point otherwise.]


              For troubleshooting/reporting                   First, always go through c               &
              For best practices/product feedback etc.        noppenheim@, ateh@, christing@, kevinzhu@




          DELETE AFTER FINAL APPROVALS (use                                       for POCs)
          Status options:
                                                                                                  Status




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                                                                                      8      COMMDOC


       PS review                genoveva                             Cornplet

       Partner Ops              brennaweingus

       PM review                drosenstein                          Complete

       Legal review             brianwc                              CE        te

       PR review                alexjoseph                           Cmplete

       Creator Marketing        cquek                                 onrslflett~

       Support Comms            kstoddard                            complet

       Social                   jesparza




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